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                             EXHIBIT A




4841-5388-1990.6
      Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 2 of 86




                                            AFFIDAVIT

STATE OF TEXAS §
                                     §
HARRIS COUNTY §

          BEFORE ME, the undersigned Notary Public, on this day personally appeared Richie Beard

who, after being by me duly sworn on his oath, stated the following:

    My name is Richie Beard. I am President of Hardball Baseball Academy ("Hardball"). I
    am more than twenty-one years of age and am fully competent to make this declaration. 1
    have personal knowledge of each of the statements contained herein and they are true and
    correct.


    I have read Hardball's Response to Cameron Johnson's Motion for Partial Summary
    Judgment (the "Response"). Through my own actions and my position at Hardball, I have
    knowledge of facts stated in the Motion. The facts stated in the Statement of Facts of the
    Motion are true and correct to the best of my knowledge.


    For purposes of this Affidavit, I have also been designated as custodian of records of
    Hardball. I am familiar with the manner in which Hardball's records are created and
    maintained by virtue of my duties and responsibilities. Attached to this Affidavit are
    Exhibits that are original records or exact duplicates of records of Hardball. The records
    were made at or near the time of each act, event, condition or opinion set forth in the
    record. The records were made by, or from information transmitted by, persons with
    knowledge of the matters set forth in them. It is the regular practice ofHardball to keep or
    make this type of record in the course of regularly conducted business activity.

                    FURTHER AFFIANT SAYETH NOT.




                                             R1CHIE BEARD




          SUBSCRIBED AND SWORN TO BEFORE ME on this the [(n day of December, 2022,
to certify which witness my hand and official seal.


                                                                           Q^ddj
           ELLEN LALONDE              Notaiy Public in and for
        Notary ID #1159073 5
       My Commission Expires          The State of TEXAS
           April 28, 2023




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                                            Hardball Academy, LLC

                                          Contractor
                  Payments from Jan 01, 2021 to Dec 31, 2021 for Cameron Johnson


Pay date        Contractor        Type            Pay method       Pay status   Category        Amount


12/31/2021      Cameron Johnson   Expense         Direct deposit   Processed    Contractors   $3,276.00

12/02/2021      Cameron Johnson   Expense         Direct deposit   Processed    Conlractors   $5,038.00

11/03/2021      Cameron Johnson   Expense         Direct deposit   Processed    Contractors   §4,286.00

10/20/2021      Cameron Johnson   Check           Check                         Conlractors     $750.00

10/04/2021      Cameron Johnson   Expense         Direct dsposil   Processed    Contractors   $4,550.00

09/03/2021      Cameron Johnson   Expense         Other                         Contractors   $3,799.00

08/03/2021      Cameron Johnson   Expense         Other                         Contractors   $4,139.00

07/02/2021      Cameron Johnson   Expense         Other                         Contractors    $3,731.00

06/03/2021      Cameron Johnson   Expense         Other                         Contractors    $2,508.00

05/28/2021      Cameron Johnson   Check           Check                         Contractors     $750.00

05/04/2021      Cameron Johnson   Expense         Other                         Contractors    $1,863.00

04/05/2021      Cameron Johnson   Expense         Other                         Contractors    $1,554,00

03/03/2021      Cameron Johnson   Expense         Other                         Contractors    S1.239.00

02/03/2021      Cameron Johnson   Expense         Other                         Contractors    $1,344.00

Total                                                                                         $38,827.00




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                                             Payments from Jan 01, 2020 to Doc 31, 2020 for Cameron Johnson
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                                    Payments (rom Jan 01, 2019 to Dec 31, 2019 for Cameron Johnson
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                                       Hardball Academy, LLC



                   Payments from Jan 01, 2018 to Dec 31, 2018 for Cameron Johnson


Pay date      Contractor   Type        Pay method Check number Pay status Category          Amount


12/04/2010    Canieron     Expense     Other           -   -   Conlraclors                $3,346.00
              Johnson

11/05/2018    Cameron      Expense     Other                                Conlraclors   $4,387.00
              Johnson

10/03/2018    Cameron      Expense     Other                                Contractors   $6,000.50
              Johnson

09/05/2018    Cameron      Expense     Other                                Contractors   S6,686.00
              Johnson

08/02/2018    Cameron      Expense     Other                                Contractors   $5,970.75
              Johnson

07/03/2018    Cameron      Expense     Other                                Contractors   $5,797.63
              Johnson

06/05/2018    Cameron      Expense     Other                                Contractors   $5,428.13
              Johnson

05/03/2018    Cameron      Expense     Other                                Contractors   $5,022.00
              Johnson

04/03/2018    Cameron      Expense     Other                                Contractors   $5,622.63
              Johnson

03/05/2018    Cameron      Expense     Other                                Conlraclors    $5,402.00
              Johnson

02/02/2018    Cameron      Expense     Other                                Conlraclors    $4,142,50
              Johnson

01/03/2018    Ca moron     Expense     Other                                Contractors    $2,911.00
              John son

Total                                                                                     S60,716.14




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                                                                 Video Analysis #1

   Set Up
   Balanced Open/Closed/Square
   Feet are shoulder with apart/wlde/narrow
   Block Step Big/small/to the side/straight back/dlagonal


   Delivery
   Dynamic Balance (Early) Controlled center of gravity/top half ahead/center of gravity back

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  Step backs, ice skating, jump backs, lower half efficiency drills, double hop, block and hop


   Dynamic Balance (Late/foot strike) Front leg firms on tlme/front leg leaks/front leg firms early/ rotates around the front hip
  Front leg stabilization

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   Firm and freeze, 1 knee firm and freeze, balance disk/pad, stability ball, tncllne/decline
                                                  \



  Postural Efficiency is good (A B C)

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  Stability ball drill 1 and 2, balance disc, balance pads


  Symmetricat Movements Upper half_ Lower Half_ •<>


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  Arm swings with a cross, one arm swings, upper body swings



  Throwing Through Opposite and equal (horizontal W, inverted W, Perpendicular W, Elevated humerus)

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  Arm swings, single swings, squeeze and swlvels,



  Blocking Glove side (timmg Is good/ puil the glove/ counter rotation before release)

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  Squeeze and swlvels, connection ball 3, ball In glove hand



  Late Rotation/Synchronlzation/Rotational Movements- hip and'shoulder separation


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  Separation drill, med ball drills, late rotation drills, 90 degree swivels


  Rhythm & Tempo- Speed Upper half and lower half work together
  Arm swings w/ cross, one arm swings w/step behlnds, all rhy & tempo throws, walking torques (same arm/same leg)



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  Finish
  Efficient Deceleration- on time pronation


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                                      Hardball Academy Instructor Invoice March 2021
     Bill To;
     Hardball Academy
     3201 Hamm Rd
     Peariand, TX,77581


     Instructor: Cameron Johnson                      INVOICE #6            Sate:            6/1/21


                                        Description                Number      Hr Rate   Amount
                     Hour lesson                                     26        $42.00    $1,092.00
                     Vi Hour lesson                                  14        $21.00      $294.00
                     ^o Show                                         4         $42.00      $168.00
                     Late Cancellah'ons                               0        $42.00        $0.00
                     Spot Lessons                                    0         $42.00        $0.00
                     5th Week lessons                                 0        $42.00        $0.00
                     Large Group Training                             0        $60.00        $0.00
                     16U Team Stipend                                 0                       $0.00




                     Total Hours                                     37
                                                                            Total Pay    $1,554.00



     Half hours are noted by a decimal (.5)
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                                     Hardball Academy Instructor Invoice April 2021
     Bill To:
     Hardball Academy
     3201 Hamm Rd
     Peariand, TX,77581


     Instructor: Cameron Johnson                     NVOICE it            Date:             4/5/21


                                       Description               Number      Hr Rate   Amount
                    Hour lesson                                    26        $42.00     $1,092.00

                    'A Hour lesson                                 24        $21.00       $504.00
                    No Show                                         1        $42.00        $42.00

                    Late Cancellations                              0        $42.00         $0.00

                    Spot Lessons                                   1         $42.00        $42.00
                    5th Week lessons                               0         $42.00         $0.00

                    Large Group Training                           2         $60.00       $120.00




                    Total Hours                                    42
                                                                          Total Pay      $1,800.00




     Half hours are noted by a decimal (.5)
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                                      Hardball Academy Instructor Invoice May 2021
      Bill To:
      Hardball Academy
      3201 Hamm Rd
      Peariand, TX,77581


      Instructor: Cameron Johnson                   INVOICE #            Date:             4/5/21


                                      Description               Number      Hr Rate   Amount
                 Hour lesson                                      25        $42.00     $1,050.00

                 /z Hour lesson                                   26        $21.00       $546.00

                 No Show                                          3         $42.00       $126.00
                 Late Cancellations                               1         $42.00        $42.00
                 5th Week lessons                                 0         $42.00         $0.00

                 Spot Lessons                                     1.5       $42.00        $63.00

                 Small Group Training                             0         $50.00         $0.00

                 Med Group (5)                                    12        $62.00       $744.00

                 Large Group Training                             0         $60.00         $0.00




                 Over paid in April                                                       -$63.00

                 Total Hours                                     55.5
                                                                         Total Pay      $2,508.00




      Half hours are noted by a decimal (.5)
Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 64 of 86




                                    Hardball Academy Instructor Invoice June 2021
       Bill To:
       Hardball Academy
       3201 Hamm Rd
       Peariand, TX,77581


      Instructor: Cameron Johnson                   INVOICE ff 6            Date:            6/30/21

                                      Description                  Number      Hr Rate   Amount
                   -four lesson                                      43        $42.00    $1,806.00
                   ,2 Hour lesson                                    34        $21.00      $714.00
                   Mo Show                                           1         $42.00       $42.00
                   -ate Cancellations                                2         $42.00       $84.00
                   Vied Group (7)                                    4         $72.00      $288.00
                   Spot Lessons                                      2         $42.00       $84.00
                   5th Week lessons                                  1.5       $42.00       $63.00
                   Fatal                                                                   $3,081.00




                   Team Stipend                                                            $1,400.00

                   Deduction                                                                -$750.00




                   Total Hours                                      70.5
                                                                            Total Pay      $3,731.00




       Half hours are noted by a decimal (.5)
      Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 65 of 86




                             Hardball Academy Instructor Invoice July 2021
Bill To:
Hardball Academy
3201 Hamm Rd
Peariand,TX,77581


Instructor: Cameron Johnson                 INVOICE #7            Date:            7/30/21


                              Description                Number      Hr Rate   Amount
           Hour lesson                                     38        $42.00     $1,596.001

           '/a Hour lesson                                 40        $21.00       $840.00]
           No Show                                          1        $42.00        $42.00|
           Large Group Training                            4         $60.00       $240.001
           Late Cancellations                               0        $42.00          $0.001
           Spot Lessons                                   0.5        $42.00        $21.001
           5th Week lessons                                0         $42.00          $0.001
           Team Stipend                                    1                     $1,400.00|




           Total Hours                                    63.5
                                                                  Total Pay      $4,139.001




Half hours are noted by a decimal (.5)
      Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 66 of 86




                             Hardball Academy Instructor Invoice August 2021
Bill To:
Hardball Academy
3201 Hamm Rd
Peariand,TX,77581


Instmctor: Cameron Johnson                  INVOICE # 8            Date:            8/31/21


                              Description                 Number      Hr Rate   Amount
           Hour lesson                                      39        $42.00     $1,638.001
           '/i Hour lesson                                  38        $21.00       $798.00|
           Mo Show                                          0         $42.00         $0.001

           Large Group Training                             0         $60.00         $0.00|
           Late Cancellations                               1         $42.00        $42.001
           Spot Lessons                                    0.5        $42.00        $21.001

           5th Week lessons                                 0         $42.00          $0.001

           Team Stipend                                     0                     $1,300.001




           Total Hours                                     59.5
                                                                   Total Pay      $3,799.001




Half hours are noted by a decimal (.5)
   Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 67 of 86




                            Hardball Academy Instructor Invoice Sept 2021
Bill To:
Hardball Academy
3201 Hamm Rd
Peariand.TX, 77581


, Instructor: Cameron Johnson               INVOICE # 3            Date:            9/30/21
                            I I
                              Description                 Number      Hr Rate   Amount
           Hour lesson                                      36        $42.00      $1,512.00

           'A Hour lesson                                   52        $21.00      $1,092.00

           No Show                                          0         $42.00         $0.00

           Late Cancellations                               5         $42.00       $210.00
           Large Group Training                             0         $60.00         $0.00

           5th Week lessons                                 4          $42.00      $168.00

           Spot Lessons                                     4          $42.00      $168.00
           Total                                                                $3,150.00
           Total Hours                                      76
           Team Stipend                                     1                     $1,400.00




                                                                   Total Pay      $4,550.00




Half hours are noted by a decimal (.5)
Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 68 of 86




                                    Hardball Academy Instructor Invoice Oct 2021
     Bill To:
     Harctball Academy
     3201 Hamm Rd
     Peariand.TX, 77581


     Instructor: Cameron Johnson                   NVOICE#10               Date:              10/31/21


                                     Description                 Number       Hr Rate      Amount
                  Hour lesson                                        44       $42.00        $1,848.00

                  '/i Hour lesson                                    54       $21.00         $1,134.00

                  No Show                                            0        $42.00            $0.00

                  Late Cancellations                                7.5       $42.00          $315.00

                  Large Group Training                                0       $60.00            $0.00
                  5th Week lessons                                    0       $42.00            $0.00

                  Spot Lessons                                      4.5       $42.00          $189.00
                  Total                                                                    $3,486.00
                  Total Hours                                        83
                  Team Stipend                                        1                      $1,300.00



                  Advance in pay 1W73 $750                                                    -$500.00




                                                                           Total Pay         $4,786.00

                                                                           adv pr             -$500.00
                                                               extra pay   paid ck #4173      $250.00
      Half hours are noted by a decimal (.5)                                                 $4,536.00
                                                                           Payroll           $4,286.00
     Case 4:22-cv-01181 Document 21-1 Filed on 12/20/22 in TXSD Page 69 of 86




                            Hardball Academy Instructor Invoice Nov. 2021
Bill To:
Hardball Academy
3201 Hamm Rd
Peariand,TX,77581


Instructor: Cameron Johnson                 INVOICE #11                             11/1/21


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                              Description                 Number      Hr Rate   Amount
           Hour lesson                                      46        $42.00      $1,932.00

           Vi Hour lesson                                   55        $21.00      $1,155.00

           No Show                                           0        $42.00         $0.00

           Late Cancellations                              4.5        $42.00       $189.00

           Large Group Training                             0         $60.00         $0.00

           5th Week lessons                                2.5        $42.00       $105.00
           Spot Lessons                                    6.5        $42.00       $273.00
           Total                                                                $3,654.00
           Total Hours                                      88
           Team Stipend                                     1                     $1,300.00




                                                                   Total Pay      $5,038.00




Half hours are noted by a decimal (.5)
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                               Hardball Academy Instructor Invoice Dec. 2021
Bill To:
Hardball Academy
3201 Hamm Rd
Peariand, TX,77581


Instructor: Cameron Johnson                    INVOICE # 12            Date:           12/29/21


                                 Description                  Number      Hr Rate   Amount
              Hour lesson                                       52        $42.00      $2,184.00

              /a Hour lesson                                    47        $21.00       $987.00

              Mo Show                                           0         $42.00         $0.00

              Late Cancellations                               0.5        $42.00        $21.00

              Large Group Training                              0         $60.00         $0.00
              5th Week lessons                                  0         $42.00         $0.00

              Spot Lessons                                      2         $42.00        $84.00

              Total                                                                 $3,276.00
              Total Hours                                       78
              Team Stipend                                      0                        $0.00




                                                                       Total Pay      $3,276.00




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                               Instructor Manual




    Tliis manual is confidential mid is not to be copied or reproduced unless Hardball Academy LLC gives pemiission. Anyone thnt
    reproduces any part of this manual without permission will be subject to copy write laws. Tliis mnnual is sole property ofHardball
    Acndemy LLC.


    Instructors are expected to:

    Bring Ihis manual to all instructor meetings
    Add appropriate pages to manual and update regularly
    Keep the informnlion confidential unless it is used specifically for instmclion at Hnrdball Academy

    This manual is worth an estimated value of $200, Each instructor will be required to produce this manual upon request by
    msnagement ofHardball Academy. If unable to produce this manual there will be a fiill charge of $200.




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         Instruct!
         Home Page
                                                                    Instructors
         Mission Statement
         Memberships
                                           Instructors for Hardball Academy have been selected for their
         Facility
                                           intensive backgrounds in baseball and softball. Each instructor has
         After SfIiQol Program
                                           been chosen because of their educational backgrounds, coaching,
         Camp.s/CIinics
                                           playing, and teaching experience. Instructors specialize in sports
         Baseball & Softball Instruction
                                           psychology, motor learning, biomechanics, kinesiology, anatomy,
         Tournaments/ Leagues
                                           and other areas that are necessary for teaching baseball/softball
         Team Instruction
                                           effectively.
         Calendar
         Instructor Inibrmation
                                                      In addition, all instructors have undergone hours of
         Ncwslctlers
                                                      classroom and field training through Hardball Academy
         Students
                                                      All of our instmctors have college or professional playin
         Driving Dircction.s/M^^
                                                      experience. Most of the instructors have been involved
                                                      with coaching at the high school or college levels, We
                                                      recognize that playing a game well and teaching how to
                                                      play it are too very different things. That is why we hav<
                                                      developed a specialized training curriculum that is
                                                      designed just for teaching baseball and softball,
                                                      Instructors have learned how to incorporate auditory,
                                                      visual, kinesthetic modes of learning, and other teaching
                                                      principals during their instruction. As well, instructors
                                                      have knowledge and receive ongoing training in human
                                                      anatomy, kinesiology, vision training, motor learning,
                                                      sports psychology, and the latest training techniques and
                                                      drills for baseball and softball. Instructors have reviewec
                                                      hours of video, participated in a number lesson with
                                                      advanced instructors, attended staff meetings where new
                                                      drills and individual case studies are reviewed before
                                                      working with players. Instructors are required to attend
                                                      lectures, classes, seminars, and coaching clinics on a
                                                      regular basis through out the year.




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    Training Time

    All new instructors are required to undergo 2 hour^a month training time for your first
    year. You will have to spend 2 hours with advai)ded instructors. You will be
    compensated $_15_._ for your training. If y6u fail fo document or complete your
    training then you will be fined $_25_/

    Meetings

    It may be necessary to meet several times a month or even weekly until a new instructor
    understands terminology, procedures, or other areas of the business,

    Schedules

    Schedules will be consistent. Instructors may choose days and times to work (within
    reason and if acceptable by Hardball Academy). If a change needs to be made every 3
    months there will be no problem. Instructors are required to work one weekend day (half
    day 3-4 hours min) and 3 days during the week at a minimum. Each instmctor must be
    able to give a minimum of 15 hours per week. Hardball has the right to assign you
    designated work times if necessary, 'y M</J /f c^ct^^-

    Memos/Directives/Handouts

    Instructors will be responsible for all memos. Likewise instructors will be responsible for
    handing out information to clients (evaluation forms, lessons, and other documentation)

    Keys

    Instructors will be given keys for all facilities. If a key is lost an instructor will be
    responsible for the cost to change the locksl
    * Failure to secure the facility will result in a $100 fine. A second occurrence will result in loss of keys!


    I have received my keys for Hardball Academy Facilities:



    Signature_, Printed Wame_
    Hardball Academy Signature, Date,




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 Quick Guide-Outline for Hardball Instructors and Employees

  1, Professional Dress- It is required of all personnel and instructors to be dressed In hardball attire. Failure to abide by this policy
       could lead to fines for each occurrence.

  2. Mandatory Meetings- Meetings will be scheduled from time to time. It is important that all employees, supervisors, and all staff
  attend these meetings. If for some reason you are not able to attend, then it is up to you to schedule a time with R, Beard to meet. If
  you are not present, you are still responsible for the information at the meeting. Employees should let R. Beard know with more than 72
  hours' notice if they will not be able to attend. Failure to give proper notice or to attend will result in a fine.



  3. Lifelong Learning- Instructors are expected to attend at least 1 clinic or coaching seminar per year. Instructors can also take

  classes, receive specific certifications necessary for being a top-level Instructor, or participating in Hardball Academy training

  seminars. Instructors will be reimbursed up to $ 100 for any type of professional growth activities they participate in.


  4. Representing the Academy- Every employee will be designated with a league/organizatlon that they will communicate with. The

  object is to build relationships and build awareness about our business and programs that we offer. Instructors are also expected to

  participate In marketing campaigns, work camps/cliriics, and participate in other outside activities.



  5. Memos/Directives/Emails/Texts- All employees are expected to communicate with supervisors, operating officer, and clients.

  Texts and phone calls should be answered in a reasonable amount of time.



  6. Learning the Hardball System- Each instructor and employee are responsible for learning how operations of the academy works.

  This can include but is not limited to: Client policies, employment policies, procedures for scheduling, cancelling lessons, no shows,

  late cancellations, doing contracts, having clients leave deposits, the webslte and how to navigate it (where items are on the website)

  and much more.



   7. Keeping the facility clean and being responsible for the facility- All instructors are expected to keep the work area clean and

   neat. NOTHING should be left on the floor. The last person to leave is responsible to make sure all the lights, AC, and all equipment

   Is off. Instructors are responsible for any trash or equipment left out by their students. Please don't allow students to perform task

   that are dangerous or that could cause damage to the facility. The last person to leave to facility should make sure all procedures are

   followed and facility is picked up and clean. Report to Richie Beard if individuals are not doing their part and-you are having to pick

   up after them,



   8. Maintaining Log and keeping the schedule/operations manager informed of all lessons and their changes in status. Logs

   should be kept up to date in accordance with policy. Supervisor should be notified of any problems or Issues with parents or

   students. Supervisor should be notified of any injuries that may occur. Communicating in writing for clients; instructions for students

   to cancel/put their membership on hold, cancellation policy, etc. >



   9. Being Professional



         ' On time

         * Well dressed

         * Good attitude

         * Motivating

         * Not texting or taking phone calls or excessive "conversations" with others while doing lessons

         * Completing lesson log




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         * Communicating with clients and supervisor, director, and president

         '' Keeping the facility and workplace clean and all equipment repaired and working properly



   10. Completing assigned mini duties- Instructors will be asked to do small duties on a regular basis. Keep up with the facility for

   appearance for customers; for safety of all personnel and students. All employees are assigned duties and are expected to perform

   these duties without having to be reminded on a continual basis.



    11. Social Media and Marketing- Each instructor is expected to do some social media promoting the academy, their students, fellow

   Instructors, and themselves.



 Instructor Evaluation

    Each instructor will be evaluated on a regular basis. Evaluations Include all professional duties expected to be carried out by the

    instructor. These Include but are not limited to scheduling, communication with clients, turning in required documents (lesson log)

    on or before due date, and all other administrative duties assigned to an instructor. Likewise, instructors will be evaluated on their

    professional teaching responsibilities.



 General Employment
 Contractual Employment

 Employment with HARDBALL BASEBALL ACADEMY LLC is on a contractual basis. HARDBALL BASEBALL ACADEMY LLC may terminate the
 employment relationship at any time, with or without cause or advance notice. It Is not guaranteed, in any manner, that you will be
 employed with HARDBALL BASEBALL ACADEMY LLC for any set period. Likewise, terms and conditions of employment contracts will still be
 valid and in effect. Terms of contracts can range from 1 to S years.

 The policies set forth In this employee handbook are the policies that are In effect at the time of publication. They may be amended,
 modified, or terminated at any time by HARDBALL BASEBALL ACADEMY LLC. Nothing In this handbook may be construed as creating a
 promise of future benefits or a binding contract between HARDBALL BASEBALL ACADEMY LLC and any of Its employees.

 Immigration Law Compliance

 HARDBALL BASEBALL ACADEMY LLC Is committed to employing only United States citizens and aliens who are authorized to work in the
 United States.

 In compliance with the Immigration Reform and Control Act of 1986, as amended, each new employee, as a condition of employment, must
 complete the Employment Eligibility Verification Form 1-9 and present documentation establishing Identity and employment eligibility.
 Former employees who are rehired must also complete the form if they have not completed an 1-9 with HARDBALL BASEBALL ACADEMY
 LLC within the past three years, or if their previous 1-9 is no longer retained or valid.

 HARDBALL BASEBALL ACADEMY LLC may participate in the federal government's electronic employment verification system, known as "E-
 Verify." Pursuant to E-Verify, HARDBALL BASEBALL ACADEMY LLC provides the Social Security Administration, and If necessary,the
 Department of Homeland Security with information from each new employee's Form 1-9 to confirm work authorization.

 Equal Employment Opportunity


 HARDBALL BASEBALL ACADEMY LLC Is an Equal Opportunity Employer. Employment opportunities at HARDBALL BASEBALL ACADEMY LLC
 are based upon one's qualifications and capabilities to perform the essential functions of a particular job. All employment opportunities are
 provided without regard to race, religion, sex, pregnancy, childbirth or related medical conditions, national origin, age, veteran status,
 disability, genetic Information, or any other characteristic protected by law.

    This Equal Employment Opportunity policy governs all aspects of employment, Including, but not limited to, recruitment, hiring,

    selection, job assignment, promotions, transfers, compensation, discipline, termination, layoff, access to benefits and training, and

    all other conditions and privileges of employment.

    The Organization will provide reasonable accommodations as necessary and where required by law so long as the accommodation

    does not pose an undue hardship on the business. The Organization will also accommodate sincerely held religious beliefs of Its

    employees to the extent the accommodation does not pose an undue hardship on the business. If you would like to request an




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   accommodation, or have any questions about your rights and responsibilities, contact your Rlchle Beard. This policy is not intended

   to afford employees with any greater protections than those which exist under federal, state or local law.

   HARDBALL BASEBALL ACADEMY LLC strongly urges the reporting of all instances of discrimination and harassment, and prohibits

   retaliation against any Individual who reports discrimination, harassment, or participates in an investigation of such report,

   HARDBALL BASEBALL ACADEMY LLC will take appropriate disciplinary action, up to and Including immediate termination, against any

   employee who violates this policy.


 Employee Grievances




   It Is the policy of HARDBALL BASEBALL ACADEMY LLC to maintain a harmonious workplace environment. HARDBALL BASEBALL

   ACADEMY LLC encourages Its employees to express concerns about work-related Issues, including workplace communication,

   interpersonal conflict, and other working conditions.

    Employees are encouraged to raise concerns with their supervisors. If not resolved at this level, an employee may submit, in writing,

   a signed grievance to Richle Beard.

   After receiving a written grievance, HARDBALL BASEBALL ACADEMY LLC may hold a meeting with the employee, the immediate

    supervisor, and any other Individuals who may assist In the Investigation or resolution of the Issue. All discussions related to the

    grievance will be limited to those involved with, and who can assist with, resolving the issue.

    Complaints involving alleged discriminatory practices shall be processed in accordance with HARDBALL BASEBALL ACADEMY LLC's

    Sexual and other Unlawful Harassment Policy,

    HARDBALL BASEBALL ACADEMY LLC assures that all employees filing a grievance or complaint can do so without fear of retaliation or

    reprisal.


 Internal Communication




    Effective and ongoing communication within HARDBALL BASEBALL ACADEMY LLC is essential, As such, the Organization maintains

    systems through which important information can be shared among employees and management.



    Bulletin boards are posted In designated areas of the workplace to display Important Information and announcements. In

    addition, HARDBALL BASEBALL ACADEMY LLC uses the Intranet and email to facilitate communication and share access to

    documents. For Information on appropriate email and Internet usage, employees may refer to the Computer, Email, and Internet

    Usage policy. To avoid confusion, employees should not post or remove any material from the bulletin boards.



    All employees are responsible for checking Internal communications on a frequent and regular basis. Employees should consult their

    supervisor with any questions or concerns on Information disseminated.


 Outside Employment




    When approved by Hardball Academy LLC. employees may hold outside Jobs as long as the employee meets the performance

    standards of their position with HARD8ALL BASEBALL ACADEMY LLC and the Jobs do not confllt with the non-compete contract signed

    by all contract and full time employees. Unless an alternative work schedule has been approved by HARDBALL BASEBALL ACADEMY

    LLC, employees will be subject to the Organization's scheduling demands, regardless of any existing outside work assignments; this

     Includes availability for overtime when necessary.




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                                                                                      "EXHIBIT 5


                                         Employment Contract
                                         Hardball Academy LLC

This Employment Contract is made effective as of                                 ;, by and between Hardball
Academy LLC of 728 Marbrook Saddle Lane, League City, TX 77573 and                                            3f

A, Hardball Academy LLC is engaged in the business of Baseball Instruction/Coaching.
                                                     /ill primarily perform the job duties at the following
 locations. 3201 Hamm Road, Pearland, TX 77573.4807 Hwy 646, Dickinson, Texas 77539.


B. Hardball Academy LLC. desires to have the services of I


1. Employment
 Hardball Academy LLC. shall employ]                                                      gas an
 Instructor/Coach.l                                                                shall provide to Hardball
 Academy LLC duties as needed.'                                                    U§§|accepts and agrees
 to such employment, and agrees to be subject to the general supervision, advice and direction of
 Hardball Academy LLC. and Hardbali Academy LLC's supervisory personnel.



2. Best Efforts of Employee.
                       |agrees to perform faithfully, industriously, and to the best of            ability,
 experience, and talents, all of the duties that may be required by the express and implicit terms of this
 contract, to the reasonable satisfaction of Hardbalt Academy LLC. Such duties shall be provided at such
 places as the needs, business, or opportunities of Hardbali Academy LLC may require from time to time.


 3, Ownership of Social Media/Social Media Contacts
 Any social media contacts, including followers or friends that are acquired through accounts(including
 but not limited to email addresses, blogs, Twitter, Facebook, YouTube, or other social media networks)
  used or created on behalf of Hardbail Academy LLC are the property of Hardball Academy LLC.

 4. Recommendations for improving Operations


  information, suggestions, and recommendations regarding Hardball Academy LLC's business, of
  whtchi                          |has knowledge, that will be of benefit to Hardball Academy LLC.

 5, Confidentiality
                                                     Irecognizes that Hardball Academy LLC has and will
  have information regarding the following:


 -processes
 -trade secrets
 -customer lists
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                                         Hardball Academy LLC

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Academy LLC of 728 Marbrook Saddle Lane, League City, TX 77573 and                                      3f

A, Hardball Academy LLC is engaged in the business of Baseball Instructlon/Coaching.
                      ^s.                      /ill primarily perform the job duties at the following
 locations. 3201 Hamm Road, Pearland, TX 77573.4807 Hwy 646, Dickinson, Texas 77539.


B. Hardball Academy LLC. desires to have the services of |


1. Employment
 Hardball Academy LLC. shall emplo                                                          gas an
 Instructor/Coach.l                                                                shall provide to Hardball
 Academy LLC duties as needed.'                                                           |accepts and agrees
 to such employment, and agrees to be subject to the general supervision, advice and direction of
 Hardbatl Academy LLC. and Hardball Academy LLC's supervisory personnel.



2. Best Efforts of Employee.
                       [agrees to perform faithfully, industriously, and to the best of              ability,
 experience, and talents, all of the duties that may be required by the express and implicit terms of this
 contract, to the reasonable satisfaction of Hardball Academy LLC, Such duties shall be provided at suoh
 places as the needs, business, or opportunities of Hardball Academy LLC may require from time to time.


 3. Ownership of Social Media/Social Media Contacts
 Any social media contacts, including followers or friends that are acquired through accounts(including
 but not limited to email addresses, blogs, Twitter, Facebook, YouTube, or other social media networks)
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 4. Recommendations for improving Operations


  information, suggestions, and recommendations regarding Hardball Academy LLC's business, of
  whlchj                         |has knowledge, that will be of benefit to Hardball Academy LLC.

 5, Confidentiality
                                              ^ggggrecognizes that Hardball Academy LLC has and will
  have information regarding the following:


 -processes
 -trade secrets
 -customer lists
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                                                                                        "EXHIBIT 5


Directly or Indirectly engaging in any competitive business includes, but Is not limited to: (i) engaging in a
business as an owner, partner, or agent, (ii) becoming an employee of any third party that is engaged in
such business, (iii) becoming interested directly or indirectly in any such business, or (iv) soliciting any
customer of Hardball Academy LLC for the benefit of a third party that is engaged in such business.
           3%?Siii|aflrees hat this non-compete provision will not adversely affect |gj||l} .livelihood.

9. Employee's Inability to Contract for employer.


commitments for or on behalf of Hardball Academy LLC. without first obtaining the express written
consent of Hardball Academy LLC.


10. Benefits


 provided by Hardball Academy LLC's policies in effect during the term of employment. These benefits
 may or may not include: Health insurance, reimbursement of expenses, travel, meals, etc.


11. Term/Terminatlon
                                smployment under this contract shall be for EMBl years and the
 contract will automatically renew at the end of ^^ years unless 30 days prior written notice is given.
 This contract may be terminated by Hardball Academy LLC immediately with or without written notice.
 lfJi^igPimg®^M^|is in violation of this contract Hardball Academy may terminate
 employment without notice and without compensation to



12. Termination for Disability
Hardball Academy LLC shall have the option to terminate this Contract, if                         becomes
 permanently disabled and is no longer able to perform the essential functions of the position with
 reasonable accommodation. Hardball Academy LLC shall exercise this option by giving a 30 day written
 notice.


13. Compliance with employer's rules
                   agrees to comply with all the rules and regulations and any implemented policies of
 Hardball Academy LLC.




14. Return of Property
 Upon termination of this contract                   Ijshall deliver to Hardball Academy LLC all property
 which is Hardball Academy LLC's property or related to Hardball Academy LLC's business (including
 keys records, notes, data, memoranda, models, and equipment) that Is
                     ion or                                  _control. Such obligation may be governed by
 any separate confidentiality or property rights agreement signed by
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                                                                                      "EXHIBIT 5


                                         Employment Contract
                                         Hardball Academy L.LC


This Employment Contract is made effective as of                                 1, by and between Hardbalt
 Academy LLC of 728 Marbrook Saddle Lane, League City, TX 77573 and                                            3f


A, Hardball Academy LLC is engaged in the business of Baseball Instruction/Coaching.
                                                        primarily perform the job duties at the following
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                                                                                            "EXHIBIT 5


-prices
-cost

-discounts
"business affairs
"future plans


And other vital information items (collectively, "information") which are valuable, special and unique
 assets of Hardball Academy LLC.
                           agrees that        /Ill not at any time or in any manner, either directly or indirectly,
 divulge, disclose, or communicate any information to any third party without the prior written consent of
 Hardball Academy LLC. ^^^^^^^B_ is expected to protect the information and treat it as strictly
 confidential. A violation byj                                    |of this paragraph shall be a material violation
 of this contract and will justify legal and/or equitable relief.
 This agreement is in compliance with the Defend Trade Secrets Act and provides civil or criminal
 immunity to any individual for the disclosure of trade secrets; (i) made in confidence to a federal, state,
 or local government official, or to an attorney when the disclosure is to report suspected violations of the
 law; or (ii) in a complaint or other document filed in a lawsuit if made under seal.

6. Unauthorized disclosure of Information
 If It appears                                                       |has disclosed (or has threatened to
 disclose) information in violation of this contract, Hardball Academy LLC shall be entitled to an injunction
 to restrain                                                          from disclosing, in whole or in part, such
  information, or from providing any services to any party to whom such information has been disclosed or
  may be disclosed. Hardball Academy LLC shall not be prohibited by this provision from pursuing other
  remedies, including a claim for losses and damages.


 7. Confidentiality after termination of employment.
 The confidentiality provisions of this Contract shall remain in full force and effect for a period of 3 years
  after the voluntary or involuntary termination of
  employment. During such periods, neither party shall make or permit the making of any public
  announcement or statement of any kind that was formerly employed by or
  connected with Hardball Academy LLC.


 8. Non-Compete Agreement
     g|||^|§gjg|gg||grecognizes that the various items of information are special and unique assets of
  the company and need to be protected from improper disclosure. In consideration of the disclosure of
  inforamtionl                           .agrees and covenants that during his or her employment by Hardball
  Academy LLC and for a period of 3 years following the termination of
  employment, whether such termination is voluntary or                                               will not
  directly or indirectly engage in any business competitive with Hardball Academy LLC.

  This covenant shall apply to the geographical area that includes the area within a 30 mile radius of
  current facilities or future facilities acquired while employed.
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Richife Beard, President
Hardball Academy LLC

       /^o/2
Date: £WWZo




Date;
